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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Damien Lashaun Nelson,                                              Case No. __________

                      Plaintiff,

v.

Burnsville Police Department and Detective
Brad Robert Litke, Officer Nickolas Larson,
                                                       NOTICE OF REMOVAL
Ray Gutzman, Police Officers John Doe and
Jane Doe 1-3, Burnsville Employees; whose
identities are presently unknown to Plaintiff,
in their individual and Official Capacities,

                      Defendants.


TO: UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MINNESOTA
    AND PLAINTIFF PRO SE DAMIEN LASHAUN NELSON, 970 PICKETT
    STREET N., BAYPORT, MINNESOTA 55003-1489.

         PLEASE TAKE NOTICE that Defendants Burnsville Police Department,

Detective Brad Robert Litke, Officer Nick Larson, and Officer Roy Gutzman 1 (the

“Defendants”) hereby demand removal of the above-entitled case from Minnesota’s First

Judicial District, Dakota County, to the United States District Court, District of Minnesota,

pursuant to 28 U.S.C. §§ 1331, 1441(a) and (c), and 1446(a). Defendants assert as follows:

         1.     That attached hereto and marked as Exhibit “A” is a true and correct copy of

the Complaint and Demand for Jury Trial dated May 23, 2025 filed in the Dakota County

action on June 2, 2025.



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    Incorrectly identified in the Complaint as “Ray Gutzman”.
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       2.     That attached hereto and marked as Exhibit “B” is a true and correct copy of

the Civil Summons dated May 23, 2025 filed in the Dakota County action on June 2, 2025.

       3.     That attached hereto and marked as Exhibit “C” is a true and correct copy of

the Affidavits of Service by the Dakota County Sheriff showing that Defendants were

served on June 17, 2025.

       4.     That attached hereto and marked as Exhibit “D” is a true and correct copy of

the Order Granting Fee Waiver Request dated June 2, 2025.

       5.     That attached hereto and marked as Exhibit “E” is a true and correct copy of

the district court’s Register of Actions for Court File No. 19HA-CV-25-3514 – Nelson v.

Burnsville Police Department, et al., with a copy of all filings publicly available in the state

court proceedings as of the date of this notice.

       6.     That the above documents constitute all process and pleadings to date.

       7.     That Plaintiff’s Complaint, while venued in state district court, asserts

alleged violations of his “constitutional rights” for seizure of Plaintiff’s property without a

warrant in violation of the Fourth Amendment and which is properly made pursuant to 42

U.S.C. § 1983.

       8.     Plaintiff has pleaded a federal claim that could have been brought in federal

court under the original jurisdiction of 28 U.S.C. § 1331 because of the federal questions

arising out of the alleged violations of his “constitutional rights”.

       9.     That contemporaneous with the filing of this Notice, this Notice is being

provided to Plaintiff and the District Court Administrator, County of Dakota, State of

Minnesota, pursuant to 28 U.S.C. § 1446(d).


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       10.    Defendants respectfully submit that removal of this action is proper and that

this Court has jurisdiction to adjudicate Plaintiff’s claims.

       WHEREFORE, Defendants respectfully request that this case proceed in the

United States District Court, District of Minnesota, as an action properly removed.



Dated: July 8, 2025                   JARDINE, LOGAN & O’BRIEN, PLLP



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                                      Department, Brad Litke, Nick Larson, and Roy
                                      Gutzman




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